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 Clinton Brown, Self-Represented
 16821 Edgar Street
 Pacific Palisades, CA 90272
 clinton@atlasinc.solar
 310-487-6453
                           UNITED STATES DISTRICT COURT
                          CENTRAL DISTRICT OF CALIFORNIA

 CLINTON BROWN,
                                                   Case No. 2:23-cv-02938-MEMF-KS
                Plaintiff,
                                                   Declaration of Sean Chaudhuri
        vs.
                                                   Judge: Honorable Maame Ewusi-Mensah
 STEVE SMEAD
                Defendant.                         Frimpong

                                                   Magistrate: Karen L. Stevenson

                             DECLARATION OF SEAN CHAUDHURI

        I, Sean Chaudhuri, pursuant to 28 U.S.C. § 1746 declares as follows:

 Background

 1. I am the Executive Chairman of HST, the leading clean energy network provider with traction

    in 100 countries. HST helps clean energy buyers and sellers find each other and allows

    developers to accelerate their project feasibility efforts. HST offices are located at 3790 El

    Camino Real St, Suite 895, Palo Alto, CA 94306.

 2. From March 21, 2021, through the present, I have engaged with Clinton Brown, the CEO of

    Atlas, on various proposed solar projects on his properties, including the Delta (“Utah”)

    project.

 3. I submit this declaration in the above-captioned matter to provide factual information relevant

    to the allegations in the First Amended Complaint.

 Background Regarding Utah Solar Farm Project

 4. I received the Utah project due diligence files from Clinton Brown via email on October 22,

    2022.

 5. I sent the Draft Indicative Economics Across Projects, which included the Utah project, via

    email to Clinton Brown on March 2, 2023.
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 6. Brown’s property received a contract proposal for the Utah Project because, among other

     things, his property was the only property in the proposed project that had already been

     permitted for a Solar Farm.

 7. Brown’s property was also the only property in the proposed project that was granted a

     transmission right-of-way from Millard County, Utah, to connect to the grid. A right-of-way to

     connect to the grid is vital to the success of any solar project.

 8. Ultimately, Brown did not receive an executed contract for the Utah Project because the

     property is in ongoing Federal litigation over disputed ownership.

 Relationship Between Brown and Smead

 9. Because of my role as Executive Chairman of HST, I engaged directly with Clinton Brown and

     his Executive Team on the Utah project.

 10. Brown informed me that Smead had publicly filed a pre-foreclosure notice and a notice of sale

     on the Utah property.

 11. Brown and I mutually agreed to permit him to disclose confidential information about the Utah

     project to Smead, including the proposed contract.

 12. Brown disclosed the project information to Smead to prevent foreclosure by attempting to

     renegotiate the terms of their agreement concerning the Utah property.

 13. Without this confidential disclosure, the future of the Utah project was at risk due to its reliance
     on Brown’s property, which holds a solar permit and a right-of-way to the transmission line.

 14. Smead rejected Brown’s proposal(s).

 HST and Smead

 15. HST does not have a business relationship with Smead.

 Aftermath of Smead’s Actions

 16. HST revised the project's feasibility and, in collaboration with Atlas, was able to offer executed

     contracts to adjacent landowners for the $300 million Utah Solar Farm project.
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 17. The Utah Solar Farm project closed on May 16, 2024, without including Brown’s property,

    resulting in Brown not receiving the $6,135,068.21 he would have earned if his property had

    been part of the executed contracts for the Utah Solar Farm.

 Conclusion

 18. To aid in the drafting of this declaration, I reviewed certain emails, texts, and files pertaining

    exclusively to the Utah project.



 “I declare (or certify, verify, or state) under penalty of perjury under the laws of the United States

 of America that the foregoing is true and correct.”



 Dated: May 17, 2024                                                           __________________

                                                                                  Sean Chaudhuri
